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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER SETTING HEARING FOR
                                                                         10   This Order Relates To:                  )   OBJECTIONS TO APPOINTMENT
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United States District Court




                                                                                                                      )   OF SPECIAL MASTER
                                                                         11                                           )
                                                                              ALL ACTIONS                             )
                                                                         12                                           )
                                                                         13
                                                                         14        The Court has received objections to the appointment of U.S.
                                                                         15   Magistrate Judge (Ret.) James Larson ("Judge Larson") as a Special
                                                                         16   Master to hear those motions before the Court as described at the
                                                                         17   Status Conference held on August 7, 2015.        See ECF No. 4021; see
                                                                         18   also ECF No. 3986; Fed. R. Civ. P. 53(a)(1)(C).
                                                                         19        The Court is not in the habit of releasing preliminary
                                                                         20   rulings.   However, to ensure parties can address the concerns of
                                                                         21   the Court at a hearing the Court will order herein, the Court makes
                                                                         22   a rare exception and discloses that it leans toward a finding that
                                                                         23   the marital relationship of the proposed Special Master to Judge
                                                                         24   Illston is irrelevant.
                                                                         25        Judge Larson is an honest, reliable, and trustworthy
                                                                         26   individual whose many years of service to the Court give the Court
                                                                         27   great confidence in his ability to be fair and impartial when
                                                                         28   considering judicial opinions authored by his spouse.          The Court is
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                                                                          1   equally confident that he will use his own resources when making
                                                                          2   decisions, and will consider the need for an order that he not be
                                                                          3   permitted to discuss the substance of this case with his wife until
                                                                          4   after this case is done.
                                                                          5        Insofar as parties cite 28 U.S.C. § 455, the Court is inclined
                                                                          6   to find that the precedent supports this appointment.          Section 455,
                                                                          7   Subsection (a) states in relevant part that: "Any justice, judge,
                                                                          8   or magistrate of the United States shall disqualify himself in any
                                                                          9   proceeding in which his impartiality might reasonably be
                                                                         10   questioned."   The United States Supreme Court has clarified that
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                                                                         11   the goal of this subsection is to "avoid even the appearance of
                                                                         12   partiality.    If it would appear to a reasonable person that a judge
                                                                         13   has knowledge of facts that would give him an interest in the
                                                                         14   litigation then an appearance of partiality is created even though
                                                                         15   no actual partiality exists. . . ."       Liljeberg v. Health Servs.
                                                                         16   Acquisition Corp., 486 U.S. 847, 860 (1988).         The test, as
                                                                         17   reformulated by the Ninth Circuit, has been:
                                                                         18        "'whether a reasonable person with knowledge of all
                                                                         19        the facts would conclude that the judge's impartiality
                                                                                   might reasonably be questioned.'" Herrington v.
                                                                         20        County of Sonoma, 834 F.2d 1488, 1502 (9th Cir. 1987)
                                                                                   (quoting United States v. Nelson, 718 F.2d 315, 321
                                                                         21        (9th Cir. 1983)). "Section 455(a) asks whether a
                                                                                   reasonable person perceives a significant risk that
                                                                         22
                                                                                   the judge will resolve the case on a basis other than
                                                                         23        the merits." In re Mason, 916 F.2d 384, 385 (7th Cir.
                                                                                   1990). The "reasonable person" in this context means
                                                                         24        a "well-informed, thoughtful observer," as opposed to
                                                                                   a "hypersensitive or unduly suspicious person." Id.
                                                                         25        at 386.
                                                                         26             In determining whether disqualification is
                                                                                   warranted under § 455(a), we also apply the general
                                                                         27        rule that questions about a judge's impartiality must
                                                                                   stem from "extrajudicial" factors, Liteky v. United
                                                                         28        States, 510 U.S. 540, 554[] (1994), that is, from


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                                                                                   sources other than the judicial proceeding at hand.
                                                                          1        Pau v. Yosemite Park and Curry Co., 928 F.2d 880, 885
                                                                          2        (9th Cir. 1991) (citing Toth v. Trans World Airlines,
                                                                                   862 F.2d 1381, 1388 (9th Cir. 1988)).
                                                                          3
                                                                                        We are also mindful "that section 455(a) claims
                                                                          4        are fact driven, and as a result, the analysis of a
                                                                                   particular section 455(a) claim must be guided, not by
                                                                          5
                                                                                   comparison to similar situations addressed by prior
                                                                          6        jurisprudence, but rather by an independent
                                                                                   examination of the unique facts and circumstances of
                                                                          7        the particular claim at issue." United States v.
                                                                                   Bremers, 195 F.3d 221, 226 (5th Cir. 1999).
                                                                          8
                                                                          9   Clemens v. U.S. Dist. Court for Cent. Dist. of Cal., 428 F.3d 1175,
                                                                         10   1178 (9th Cir. 2005).     Clemens also cited approvingly the list by
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                                                                         11   the Tenth Circuit in Nichols v. Alley, 71 F.3d 347, 351 (10th Cir.
                                                                         12   1995).   See Clemens, 428 F.3d at 1178-79.
                                                                         13        As applied, the Ninth Circuit has clarified that many
                                                                         14   instances do not rise to a level requiring recusal.          See S.E.C. v.
                                                                         15   ING USA Annuity & Life Ins. Co., 360 F. App'x 826, 828 (9th Cir.
                                                                         16   2009) ("There is no authority for the proposition that judges must
                                                                         17   recuse themselves if they served as mediators in a related
                                                                         18   proceeding."); Clemens, 428 F.3d at 1179-80 (all the Federal Judges
                                                                         19   in a judicial district did not need to be recused after collective
                                                                         20   death threats); Jorgensen v. Cassiday, 320 F.3d 906, 911-12 (9th
                                                                         21   Cir. 2003) (where a former law clerk who finished working for a
                                                                         22   judge eight years ago threatened to use his influence to guarantee
                                                                         23   a favorable judgment, the judge did not have to recuse himself);
                                                                         24   Cordoza v. Pac. States Steel Corp., 320 F.3d 989, 998-1001 (9th
                                                                         25   Cir. 2003) (Judge Patel did not need to recuse herself when
                                                                         26   pursuing her administrative role as an enforcer of the behavior and
                                                                         27   standards for an already appointed special master).          Simple
                                                                         28   "conclusions and opinions" are also insufficient allegations of


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                                                                          1   prejudice.   Keyter v. Locke, 182 F. App'x 684, 685-86 (9th Cir.
                                                                          2   2006).
                                                                          3        Here, two cases are particularly instructive.          See In re
                                                                          4   Smith, 317 F.3d 918, 933-34 (9th Cir. 2002); Perry v.
                                                                          5   Schwarzenegger, 630 F.3d 909, 915-16 (9th Cir. 2011).          In Smith,
                                                                          6   the Ninth Circuit established that:
                                                                          7        First, judicial rulings alone almost never constitute
                                                                                   a valid basis for a bias or partiality motion . . . .
                                                                          8        Second, opinions formed by the judge on the basis of
                                                                                   facts introduced or events occurring in the course of
                                                                          9        the current proceedings, or of prior proceedings, do
                                                                                   not constitute a basis for a bias or partiality motion
                                                                         10        unless they display a deep-seated favoritism or
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                                                                                   antagonism that would make fair judgment impossible.
                                                                         11
                                                                         12   Id. at 933 (quoting Liteky, 510 U.S. at 555) (emphasis in
                                                                         13   original).   Rather, expression of opinions only require recusal
                                                                         14   where they "reveal such a high degree of favoritism or antagonism
                                                                         15   as to make fair judgment impossible."       Id. (quoting Liteky, 510
                                                                         16   U.S. at 555).   Based on this understanding of Liteky, the Ninth
                                                                         17   Circuit in Smith found that an opinion from a prior proceeding can
                                                                         18   only be a basis for recusal where the opinions display "a deep-
                                                                         19   seated favoritism or antagonism." Id. (internal citation omitted).
                                                                         20   Thus, the predisposition of the judge in Smith to approve a
                                                                         21   settlement with modification did not show any bias, and the fact
                                                                         22   that the inclination did not change through many hearings was
                                                                         23   insufficient "to indicate that it was impossible for [that judge]
                                                                         24   to change his mind."    Id.   Even adverse rulings did not rise to the
                                                                         25   level of the "deep-seated antagonism or favoritism [required] to
                                                                         26   render a fair judgment impossible."       Id.   Smith thus held that
                                                                         27   "[e]ven if Judge Jones clung to his opinion, a little stubbornness
                                                                         28   is not ordinarily grounds for disqualification."         Id. at 934.



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                                                                          1          In Perry, the Ninth Circuit examined an instance where a Judge
                                                                          2   did not recuse himself in spite of very public statements and
                                                                          3   actions by his wife that were directly on point.         See Perry, 630
                                                                          4   F.3d at 914-16.   There, the judge reasoned that his "recusal under
                                                                          5   § 455(a) would still be appropriate only if a reasonable person
                                                                          6   with knowledge of all the facts would reasonably believe that, by
                                                                          7   virtue of [his] marriage, [he] might approach and decide this case
                                                                          8   differently than [he] would have otherwise approached and decided
                                                                          9   it."   Id. at 914 (citations omitted).      Perry then catalogued how
                                                                         10   the judge's wife had no interest in the outcome of the case (beyond
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                                                                         11   that of any American interested in that type of case), and how even
                                                                         12   though the judge's wife headed (part of) an organization (the ACLU)
                                                                         13   with an interest in that case, the ACLU had no filings before the
                                                                         14   court and thus had nothing to gain.       Id. at 914-915.     The court
                                                                         15   then expressly considered that even though the views of the judge's
                                                                         16   wife or those of the ACLU may come before the court,
                                                                         17          "[the judge's wife] is an independent person who need
                                                                                     not obtain [her husband's] approval or agreement to
                                                                         18          advocate for whatever social causes she chooses. The
                                                                                     views are hers, not [her husband's], and [the judge
                                                                         19          does] not in any way condition [his] opinions on the
                                                                                     positions she takes regarding any issues."
                                                                         20
                                                                         21   Id. at 916.   Therefore, the panel reasoned that a reasonable person
                                                                         22   who truly knew all the facts would not believe the judge would be
                                                                         23   partial or biased due to his wife's views on social policy,
                                                                         24   "whether those views are publicly expressed and advocated for, or
                                                                         25   not, and whether advocated for by her in her private capacity or in
                                                                         26   her capacity as head of the ACLU/SC."       Id.   The court also cited
                                                                         27   that the judge in that case had been a jurist for 30 years, and any
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                                                                          1   person familiar with his record would not reasonably believe that
                                                                          2   beliefs of his wife would bias him.       See id.
                                                                          3        Here, the Court's sense is that certain parties are concerned
                                                                          4   that Judge Larson, after 14 years of federal service, will be
                                                                          5   swayed by the written opinions of his wife Judge Susan Illston, a
                                                                          6   Federal, Article III Judge of 20 years.        These same parties seem
                                                                          7   concerned that Judge Larson will give greater weight or deference
                                                                          8   to decisions by Judge Illston.      Yet Smith clearly teaches that
                                                                          9   former judicial decisions do not yield bias absent a deep-seated
                                                                         10   favoritism or antagonism which is clearly lacking in this case.
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                                                                         11   And Perry stands for the proposition that a spouse's personal or
                                                                         12   professional opinions do not always yield bias to a federal judge
                                                                         13   such that recusal is required.      The concerned parties offer merely
                                                                         14   "conclusions and opinions," and thus fail to offer a sufficient
                                                                         15   allegation of bias.    Keyter, 182 F. App'x at 685-86.
                                                                         16        The Court recognizes the key difference from Perry that
                                                                         17   certain parties would no doubt cite -- that unlike the judge in
                                                                         18   Perry, Judge Larson would be forced to evaluate the judicial
                                                                         19   opinions decided by his wife.      True, it may be awkward for parties
                                                                         20   to argue to Judge Larson that he should reach a finding contrary to
                                                                         21   that of his wife, or for Judge Larson to hear such arguments.        But
                                                                         22   under Section 455 this justifies only permissible rather than
                                                                         23   mandatory recusal.    Critically, Judge Illston has nothing to gain
                                                                         24   or lose from her husband's conclusions -- even if Judge Larson were
                                                                         25   to uniformly agree or uniformly disagree with Judge Illston, Judge
                                                                         26   Illston would be no better off, no worse off, and no more or less
                                                                         27   likely to be upheld or reversed on appeal.        Armed with that simple
                                                                         28   knowledge, any reasonable person familiar with the circumstances --



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                                                                          1   to include Judge Larson's judicial record and that of his spouse --
                                                                          2   would not hesitate to affirm that the decisions Judge Larson will
                                                                          3   reach will be fair, equitable, and will in no way grant any
                                                                          4   improper deference to the work product of his spouse.          Therefore,
                                                                          5   the Court is inclined to overrule the pending objection.
                                                                          6        To ensure adequate opportunity to be heard, the Court hereby
                                                                          7   ORDERS that there be a hearing at which interested parties may
                                                                          8   appear before the Court.     See Fed. R. Civ. P. 53(b)(1).         Parties
                                                                          9   are not required to attend if they do not wish to be heard further
                                                                         10   on this matter.   The hearing will be Friday morning, September 11,
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                                                                         11   2015, at 10:00 am, at the San Francisco Courthouse, 17th Floor,
                                                                         12   Courtroom 1.
                                                                         13
                                                                         14        IT IS SO ORDERED.
                                                                         15
                                                                         16        Dated: August 31, 2015
                                                                         17                                      UNITED STATES DISTRICT JUDGE
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